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                                                                                                                       FILED
                                                                                                               February 19, 2025

SEALED                      UNITED STATES DISTRICT COURT
                                                                                                      CLERK, U.S. DISTRICT COURT
                                                                                                      WESTERN DISTRICT OF TEXAS
                             WESTERN DISTRICT OF TEXAS                                                               By :      RR
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                                 An An
                                     Nt
                                      ToNiIoO DIVISION
                                       On                                                                                           Deputy


 UNITED STATES OF AMERICA                                              Case No:                              SA:25-CR-00063-OLG



         Plaintiff,

 v.
                                                     I ND I C T ME N T
 ANGEL ISAIAH HERRERA
                                                     Firearm     Trafficking

         Defendant.
                                                     Dealing      in   Firearms Without a                            License


                                                     Possession        of a Machine               naide and beting
                                                                                                Gun
                                                      COUNTS 4,6,8: 26 USC §5861(d) Unregistered Machine Gun
                                                     Unregistered        Machine         naide and beting
                                                                                       Gun



THE GRAND JURY CHARGES:

                                          COUNT ONE
                                      (18 U.S.C. § 933(a)(1))


       From on or about October 2024 through December 5, 2024, in the Western District of

       Defendant,


                                   ANGEL ISAIAH HERRERA


did ship, transport, transfer, cause to be transported, or otherwise dispose of at least one firearm,


to wit: a Glock, model 17, generation 5, 9mm caliber, serial number BNSB573, an Anderson


Manufacturing, model AM-15, 7.62 caliber, serial number 23097539, four Privately Made Firearm


AR-Style pistols, no serial number, a Glock, model 22, .40 caliber, serial number #ASU111,


equipped with a Glock switch, a Glock, model 23, generation 4, .40 caliber, serial number


#BDDY393, equipped with a Glock switch, a Glock, model 23, .40 caliber, obliterated serial


number, equipped with a Glock switch, a Smith & Wesson, model SD9 VE, 9MM caliber, serial


number #HER0432, a Glock, model 22, .40 caliber pistol, serial number KEZ689, equipped with
                                                                                                                                                                                Case 5:25-cr-00063-DAE           Document 3       Filed 02/19/25      Page 2 of 6




                                                                                                                                                                        a Glock switch, a Glock, model 30, .45 caliber pistol, serial number BTZA425, equipped with a

                                                                                                                                                                        Glock switch, a Ruger, model SR1911, .45 caliber, serial number 671-93338, and an Aero

                                                                                                                                                                        Precision, model X15, multi-caliber pistol, serial number X603356, to another person in or

                                                                                                                                                                        otherwise affecting commerce, knowing or having reasonable cause to believe that the use,

                                                                                                                                                                        carrying, or possession of the firearm by the recipient would constitute a felony, to wit, Possession

                                                                                                                                                                        of a Machine Gun and Smuggling Goods from the United States, all in violation of Title 18, United

                                                                                                                                                                        States Code, Section 933(a)(1).

                                                                                                                                                                                                                  COUNT TWO
                                                                                                                                                                                                            (18 U.S.C. § 922(a)(1)(A))


                                                                                                                                                                               From on or about October 2024 through December 5, 2024, in the Western District of
SCnADtoNeadGfEn,bLesdiIaCSgotA,ewa,iHlSefcEuRtlnisoyedA
                                                      9n2gea(l)ri1noft(Ah)ei.rbuasimneswitohfndetahlinmgeainfgiroeaCmhsp,tienrv4io,laTtiolne1f8,TiUtnled18,StUanietsd




                                                                                                                                                                                                                          THREE
                                                                                                                                                                                                                (18 U.S.C. §922(o))

                                                                                                                                                                                                                                                      Defendant,


                                                                                                                                                                                                           ANGEL ISAIAH HERRERA


                                                                                                                                                                        did knowingly possess at least one machinegun, to wit: a Glock, model 17, generation 5, 9mm


                                                                                                                                                                        caliber pistol, serial number BNSB573 which was equipped with a machinegun conversion


                                                                                                                                                                        device that made the pistol capable of firing automatically more than one shot, without manual


                                                                                                                                                                        reloading, by a single function of the trigger, and one machinegun conversion device, in


                                                                                                                                                                        violation of Title 18, United States Code, Section 922(o).




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#ASU111, a Glock, model 23, generationC4             beUR
                                       O, U.4N0TcaFliO r, serial number #BDDY393, and a Glock,
                                      (26 U.S.C. §5861(d))

model 23, .40 caliber, obliterated serial number, all of which were equipped with a machinegun
                                                                            Defendant,

                                  ANGEL ISAIAH HERRERA

knowingly possessed at least one firearm, to wit: a Glock, model 17, generation 5, 9mm caliber

pistol, serial number BNSB573 which was equipped with a machinegun conversion device that

made the pistol capable of firing automatically more than one shot, without manual reloading, by

a single function of the trigger, and one machinegun conversion device, not registered to him in

the National Firearms Registration and Transfer Record, in violation of Title 26, United States

Code, Sections 5841, 5861(d), and 587
                                    1.

                                                    FIVE
                                   (18 U.S.C. §922(o) and 2)


                                                                            Defendant,

                                  ANGEL ISAIAH HERRERA

aided and abetting by another, did knowingly possess at least one machinegun, to wit: a Glock,

model 22, .40 caliber, serial number #ASU111, a Glock, model 23, generation 4, .40 caliber,

serial number #BDDY393, and a Glock, model 23, .40 caliber, obliterated serial number, all of

which were equipped with a machinegun conversion device that made the pistol capable of firing

automatically more than one shot, without manual reloading, by a single function of the trigger,

in violation of Title 18, United States Code, Sections 922(o) and 2.

                                                   SIX
                                      (26 U.S.C. §5861(d))



                                 Angel     Isaiah    Herrera
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#ASU111, a Glock, model 23, generation 4, .40 caliber, serial number #BDDY393, and a Glock,


model 23, .40 caliber, obliterated serial number, all of which were equipped with a machinegun


conversion device that made the pistol capable of firing automatically more than one shot,

without manual reloading, by a single function of the trigger, not registered to him in the

National Firearms Registration and Transfer Record, in violation of Title 26, United States Code,

Sections 5841, 5861(d), and 5871.

                                         COUNT SEVEN
                                        (18 U.S.C. §922(o))

                                                                              Defendant,

                                  ANGEL ISAIAH HERRERA

did knowingly possess at least one machinegun, to wit: a Glock, model 22, .40 caliber pistol,

serial number KEZ689, and a Glock, model 30, .45 caliber pistol, serial number BTZA425, both

of which were equipped with a machinegun conversion device that made the pistol capable of

firing automatically more than one shot, without manual reloading, by a single function of the

trigger, in violation of Title 18, United States Code, Section 922(o).

                                                  EIGHT
                             (26 U.S.C. §5861(d) and 18 U.S.C. §2)


                                                                              Defendant,

                                  ANGEL ISAIAH HERRERA

aided and abetting by another knowingly possessed at least one firearm, to wit: a Glock, model

22, .40 caliber pistol, serial number KEZ689, and a Glock, model 30, .45 caliber pistol, serial

number BTZA425, both of which were equipped with a machinegun conversion device that

made the pistol capable of firing automatically more than one shot, without manual reloading, by

a single function of the trigger, not registered to him in the National Firearms Registration and



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Transfer Record, in violation of Title 26, United States Code, Sections 5841, 5861(d), and 5871.



     NOTICE OF UNITED STATES OF AMERICA’S DEMAND FOR FORFEITURE
                                      [See Fed. R. Crim. P. 32.2]


                                                    I.
                              Firearm Violation and Forfeiture Statutes
                  [Title 18 U.S.C. § 933(a)(1), subject to forfeiture pursuant to Title 18 U.S.C. §
                                         934(a)(1)(A) and (B)]


          As a result of the criminal violation set forth in Count One, the United States of America


gives notice to the Defendant of its intent to seek the forfeiture of the property described below


upon conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. § 934(a)(1)(A) and (B),


which state:


          Title 18 U.S.C. § 934. Forfeiture and Fines.
          (a) Forfeiture. -­
              (1) In general. -- Any person convicted of a violation of section 932 or 933 shall forfeit
             to the United States, irrespective of any provision of State law--
                   (A) any property constituting, or derived from, any proceeds the person obtained,
                   directly or indirectly, as the result of such violation; and
                   (B) any of the person's property used, or intended to be used, in any manner or part,
                   to commit, or to facilitate the commission of, such violation . . .

                                                 II.
                            Firearm Violations and Forfeiture Statutes
             [Title 18 U.S.C. §§ 922(a)(1)(A), (o) and 933(a)(1), subject to forfeiture
          pursuant to Title 18 U.S.C. § 924(d)(1), made applicable to criminal forfeiture
                                   by Title 28 U.S.C. § 2461(c)]

          As a result of the criminal violations set forth in Counts One through Three, Five, and

Seven, the United States of America gives notice to the Defendant of its intent to seek the forfeiture

of the property described below upon conviction and pursuant to Fed. R. Crim. P. 32.2 and Title

18 U.S.C. § 924(d)(1), made applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c), which

states:

          Title 18 U.S.C. § 924. Penalties
              (d)(l) Any firearm or ammunition involved in or used in any knowing violation

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            of subsection …(a)…(o) . . . of section 922 . . . or 933 . . . shall be subject to
            seizure and forfeiture . . . under the provisions of this chapter......


                                               III.
                 Unregistered Possession Violation and Forfeiture Statutes
  [Title 26 U.S.C. § 5861(d), subject to forfeiture pursuant to Title 26 U.S.C. § 5872, made
                applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c)]

        As a result of the criminal violation set forth in Counts Four, Six, and Eight, the United

States of America gives notice to the Defendant of its intent to seek the forfeiture of the property

described below upon conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 26 U.S.C. § 5872,

made applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c), which states:

        Title 26 U.S.C. § 5872. Forfeitures
                (a) Laws applicable- Any firearm involved in any violation of the
               provisions of this chapter shall be subject to seizure and forfeiture. . .

This Notice of Demand for Forfeiture includes but is not limited to the following:

   1.   Glock, model 22, .40 caliber pistol, serial number KEZ689 with a switch;
   2.   Glock, model 30, .45 caliber pistol, serial number BTZA425 with a switch;
   3.   Ruger, model SR1911, .45 caliber, serial number 671-93338;
   4.   PMF, AR-style pistol;
   5.   PMF, AR-style pistol;
   6.   Aero Precision, model X15, multi-caliber pistol, serial number X603356; and
   7.   Any and all firearms, ammunition, and/or accessories involved in or used in the
        commission of the criminal offenses.




        MARGARET F. LEACHMAN
        ACTING UNITED STATES ATTORNEY


BY :
             Saarraahh W
        Fo r S         Waannaarrk
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        Assistant U.S. Attorney


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